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October 1, 2021

Honorable Edgardo Ramos
United States District Judge
Southern District of New York

40 Foley Square
New York, New York 10007

Re: United States v. David Pike, No. 17-cr-630 (ER)
Dear Judge Ramos:

This firm represents David Pike who has been charged in a criminal information with conspiracy
to commit bank fraud in violation of Title 18 USC §371. He is scheduled for a change of plea
hearing on October 19, 2021, at 3:30 PM.

Mr. Pike and counsel all reside in Florida. Given the current pandemic, we would rather not
travel to New York at this time, unless absolutely necessary. We therefore request that the court
permit Mr. Pike’s plea hearing to take place remotely.

I discussed this matter with Assistant US Attorney Nick Folly, who advises that the government
has no objection to this request.

Respectfully yours,

/s/Martin R. Raskin
MARTIN R. RASKIN

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